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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    UNITED STATES OF AMERICA                            §
                                                        §
                                                        §
    v.                                                  § CASE NUMBER 4:20-MJ-00743-KPJ
                                                        §
                                                        §
    GUY ZACHARY KLOSSNER
                                                        §
                                                        §


                                                 ORDER

           The Court held an initial appearance on a Complaint and considered the matter of

.   Defendant’s right to a preliminary hearing. Defendant executed a waiver at hearing. Based on the

    signed waiver, the Court finds that there is probable cause to believe that the allegations have been

    committed and that Defendant, GUY ZACHARY KLOSSNER, should be held over to answer to

    the Grand Jury.

            So ORDERED and SIGNED this 10th day of September, 2020.




                                                   ____________________________________
                                                   KIMBERLY C. PRIEST JOHNSON
                                                   UNITED STATES MAGISTRATE JUDGE
